Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 1 of 60




                                                                DA00310
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 2 of 60




                                                                DA00311
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 3 of 60




                                                                DA00312
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 4 of 60




                                                                DA00313
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 5 of 60




                                                                DA00314
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 6 of 60




                                                                DA00315
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 7 of 60




                                                                DA00316
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 8 of 60




                                                                DA00317
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 9 of 60




                                                                DA00318
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 10 of 60




                                                                 DA00319
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 11 of 60




                                                                 DA00320
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 12 of 60




                                                                 DA00321
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 13 of 60




                                                                 DA00322
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 14 of 60




                                                                 DA00323
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 15 of 60




                                                                 DA00324
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 16 of 60




                                                                 DA00325
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 17 of 60




                                                                 DA00326
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 18 of 60




          EXHIBIT 9




                                                                 DA00327
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 19 of 60




                                                                 DA00328
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 20 of 60




                                                                 DA00329
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 21 of 60




                                                                 DA00330
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 22 of 60




                                                                 DA00331
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 23 of 60




                                                                 DA00332
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 24 of 60




                                                                 DA00333
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 25 of 60




                                                                 DA00334
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 26 of 60




                                                                 DA00335
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 27 of 60




                                                                 DA00336
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 28 of 60




                                                                 DA00337
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 29 of 60




                                                                 DA00338
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 30 of 60




                                                                 DA00339
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 31 of 60




                                                                 DA00340
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 32 of 60




                                                                 DA00341
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 33 of 60




                                                                 DA00342
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 34 of 60




                                                                 DA00343
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 35 of 60




                                                                 DA00344
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 36 of 60




                                                                 DA00345
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 37 of 60




                                                                 DA00346
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 38 of 60




                                                                 DA00347
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 39 of 60




                                                                 DA00348
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 40 of 60




                                                                 DA00349
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 41 of 60




                                                                 DA00350
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 42 of 60




                                                                 DA00351
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 43 of 60




                                                                 DA00352
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 44 of 60




                                                                 DA00353
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 45 of 60




                                                                 DA00354
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 46 of 60




                                                                 DA00355
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 47 of 60




                                                                 DA00356
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 48 of 60




                                                                 DA00357
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 49 of 60




                                                                 DA00358
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 50 of 60




                                                                 DA00359
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 51 of 60




                                                                 DA00360
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 52 of 60




                                                                 DA00361
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 53 of 60




                                                                 DA00362
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 54 of 60




                                                                 DA00363
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 55 of 60




                                                                 DA00364
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 56 of 60




                                                                 DA00365
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 57 of 60




                                                                 DA00366
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 58 of 60




                                                                 DA00367
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 59 of 60




                                                                 DA00368
Case 19-11781-LSS   Doc 372-6   Filed 12/05/19   Page 60 of 60




                                                                 DA00369
